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                                              I>lf.
   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
                                                            -X
   UNITED STATES OF AMERICA,
                                                                           MEMORANDUM & ORDER
                 -against-
                                                                            18-CR-204-1(NGG)(VMS)
   KEITHRANIERE,

                                 Defendant.
                                                             X
  NICHOLAS G. GARAUFIS,United States District Judge.

          Before the court is Defendant Keith Raniere's motion to preclude the Government's

  proposed experts, Dr. Stuart Grassian and Dr. Dawn Hughes. (Raniere Mot. to Preclude Experts

  ("Mot.")(Dkt. 633).) Raniere contends that the Government's expert notice was untimely and

  inadequate, that the proposed testimony does not satisfy the reliability standard set forth in

  Federal Rule ofEvidence 702 and Daubert v. Merrell Dow Pharmaceuticals. Inc.. 509 U.S. 579,

  588(1993), and that portions ofthe testimony should be excluded as unduly prejudicial under

  Federal Rule of Evidence 403. (Id) Alternatively, Raniere requests that the court order a

  Daubert hearing to determine the reliability ofthe experts' testimony. (Mot. at 1.) For the

  following reasons,the court DENIES Raniere's motion as to Dr. Grassian's testimony and to Dr.

   Hughes's testimony on the first seven ofher eight proposed opinions. The court GRANTS

   Raniere's request for a Daubert hearing as to Dr. Hughes's proposed testimony that "perpetrators

  often use 'grooming' techniques on adult and child victims to normalize sexual behaviors and

   make their victims more susceptible to assault"(Gov't May 2,2019 Letter(Dkt. 616)at 2).
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  I.      BACKGROUND


           A.      Initial Expert Disclosures

          On February 19,2019,the court set a deadline of February 25,2019 for the Government

  to disclose its experts pursuant to Federal Rule of Criminal Procedure 16(b)(l)(C).^ (Feb. 19,

  2019 Order.) On February 25,the Government disclosed its intent to offer unnamed experts to

  testify as to three general topics:(1)the "[pjsychiatric and psychological effects ofsocial,

  perpetual, and occupational isolation including deleterious defects on mental functioning, such as

  depression, obsessive thoughts, agitation, confusion and suicidal ideation and behavior;".(2)the

  "[bjehavior of victims ofsex crimes including common misconceptions about victim behavior,

  such as why victims often delay reporting to law enforcement and others, why victims continue

  to communicate and maintain relationships with their assailants, and why victims often do not

  physically attack their assailants;" and(3)the "[p]sychiatric effects oflack of sleep and severe

  calorie restriction."^ (Gov't Feb. 25,2019 Expert Disclosures(Dkt. 378) at 3-4.)

          On March 15, 2019,the Government indicated that it would call Dr. Grassian and Dr.

  Hughes to address the fust two topics it had previously identified. (Gov't Mar. 15,2019 Expert

  Disclosures at 1.) The Government provided one-sentence descriptions ofthese experts'

  proposed testimony and the experts' curricula vitae. (Id at 1.) On March 22,2019, Raniere

  moved to preclude the Government's experts because the Government's notice was untimely and

  inadequate. (Raniere Mar. 22,2019 Mem.(Dkt. 456-1) at 1,12-15.) On April 29,2019,the

  court denied Raniere's motion without prejudice to its renewal and directed the Government to




  ^ The Government first proposed this deadline. (Gov't Feb. 15, 2019 Letter(Dkt. 347).)
  ^ In its February 25,2019 letter, the Government also disclosed its intent to offer another expert. Dr. Michael
  Welner, as a witness. (Gov't Feb. 25,2019 Expert Disclosures at 1.) On March 15,2019,the Government indicated
  that it no longer planned to call Dr. Welner. (Gov't Mar. 15,2019 Expert Disclosures(Dto.429)at 1.)
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   complete its expert disclosures by no later than May 2,2019. (Apr. 29,2019 Mem.& Order

  (Dkt. 600)at 62-63.)

               B.    Supplemental Expert Disclosures

               On May 2,2019,the Government provided further detail regarding Dr. Grassian and Dr.

   Hughes's anticipated testimony(Gov't May 2,2019 Letter) and gave the experts' prior

  statements to Raniere's coimsel(Gov't Resp. to Raniere Mot. to Preclude Experts ("Resp.")

  (Dkt. 641)at 2). The Government stated that Dr. Grassian, a board-certified psychiatrist that

  taught at Harvard Medical School for over 25 years, is expected to offer the following testimony

   at trial:


                     (1) severe restriction of social, perceptual and occupational
                         stimulation ("environmental restriction")—^including, but not
                         limited to,lack ofhuman contact,restriction ofphysical activity,
                         lack of occupational stimulation, repetition of routine, and
                         stagnancy of environment—^has a profoundly deleterious effect
                         on mental functioning;

                     (2) individuals who experience environmental restriction often
                         become incapable of maintaining an adequate state of alertness
                         and attention to the environment and may experience agitated
                         confusional states;

                     (3) individuals who experience environmental restriction often
                         develop severe anxiety and panic disorders;

                     (4) individuals who experience environmental restriction may
                         become suicidal and self-destructive;

                     (5) there are documented examples of environmental restriction
                         being used to weaken individxials and make them more
                         susceptible to indoctrination; and

                     (6) individuals experiencing environmental restriction often
                         experience fear and helplessness because they have to depend
                         entirely on others.

  (Gov't May 2,2019 Letter at 1.) According to the Government,"Dr. Grassian's proposed

  testimony relies on his extensive study ofthe psychiatric effects of restricted and isolated
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   conditions of confinement as well as other conditions of restricted environmental and social

   stimulation."^ Qd. at 2.) "Dr. Grassian's proposed testimony is also based on his extensive

   experience evaluating individuals while they were experiencing or after they had experienced

   environmental and social isolation.'"^ (Id)

           In the same May 2,2019 letter, the Government stated that Dr. Hughes—a board-

  certified forensic psychologist and a clinical psychologist, a professor at Weill Cornell Medical

   College, and a leading expert on sexual abuse, interpersonal violence, and traumatic stress—

   would offer the following testimony:

                   (1) the vast majority of sexual assault victims know their
                         perpetrators;

                   (2) victims routinely fail to formally report sexual assault for a
                       variety of reasons, and the evaluation of the "legitimacy" of a
                        sexual assault should not be based on whether or not a victim
                        reported the event to law enforcement;

                   (3) victims frequently utilize informal strategies and disclosure to
                       cope with sexual assault, including revealing only partial details
                       of their assault, "talking around" assault and not labeling it as
                       such, and utilizing defense mechanisms of avoidance,
                         dissociation and suppression;

                   (4) disclosure by sexual assault victims often unfolds over time, and
                      the process ofdisclosure is influenced by multiple and changing
                      factors including, but not limited to, the specific characteristics
                       ofthe experience,the victim's psychological vulnerabilities,the
                       victim's relationship to her perpetrator and her pattern of
                        recovery and coping;




  ^ Such conditions "include, for example, prisoners of war, patients in intensive care units, patients with impairment
  oftheir sensory apparatus(such as eye-patched or hearing impaired patients), members ofthe military, submarine
  and polar explorers and space travelers." QdJ
  '• According to the Government's letter, "[i]n his article Psychiatric Effects of Solitary Confinement, 22 Wash. U.
  Journal ofLaw & Policy, which has already been provided to the defendants pursuant to 18 U.S.C. § 3500, Dr.
  Grassian described the extensive body of literature, including clinical and experimental literature, regarding the
  effects of decreased environmental and social stimulation, which largely forms the basis for the testimony he is
  expected to provide here." Qd)
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                  (5) sexual assault can result in severe, long-lasting and ^de
                      ranging psychological consequences and related difficulties, and
                      can complicate the choice of a victim to formally report assault;

                 (6) sexual assault victims may maintain relationships with their
                     perpetrators and this is often influenced by the dynamic between
                     the victim and perpetrator, including whether the victim and
                     perpetrator are in intimate or work relationships characterized
                     by abuse, coercion and/or dependence;

                 (7) false recanting or failure to cooperate with prosecution efforts
                     may occur in situations ofinterpersonal victimization, and

                 (8) perpetrators often use "grooming"techniques on adult and child
                        victims to normalize sexual behaviors and make their victims
                        more susceptible to assault.

  (Id.) According to the Government,"Dr. Hughes's proposed testimony relies upon her extensive

   study ofthe empirical data and social science literature on sexual assault, interpersonal violence

   and trauma...[and] her extensive clinical experience treating himdreds oftrauma and abuse

   patients over the past twenty years." (Id. at 2-3.) "Dr. Hughes' testimony also relies upon her

   extensive clinical experience treating hundreds oftrauma and abuse patients over the past twenty

   years." (Id at 3.)

          C.      Raniere's Motion


          On May 8,2019, Raniere filed the instant motion. He asks the court to preclude the

   Government's experts for four reasons. First, the Government's failure to meet the original

  February 25,2019 deadline for expert disclosures requires preclusion ofits expert. (Mot. at 1-2.)

   Second,the Government's expert disclosures do not comply with Federal Rule of Criminal

  Procedure 16(a)(l)(G)'s requirements because they "merely provide[] topics that the expert will

   address, but doQ not inform defense counsel or the court what the expert's opinion is with regard

  to any ofthe topics." (Id at 2-4.) Third,the proposed testimony does not meet the reliability

  requirement ofFederal Rule of Evidence 702 and Daubert. (Id at 4-6.) Fourth, portions of both
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  experts' testimony should be precluded as unduly prejudicial under Federal Rule ofEvidence

  403. (Id at 6-7.)

  11.    DISCUSSION


          A.     Timeliness


         As Raniere acknowledges(Mot. at 2), the court has already rejected his argument that the

  Government's failure to meet the February 25,2019 deadline for disclosures requires preclusion

  ofits experts. (Apr. 29,2019 Mem.& Order at 62-63.) The court found that "Raniere has not

  shown that the extreme remedy of preclusion is warranted here, where the Government disclosed

  two experts ... nearly two months before trial." (Id.l The court directed the Government to

  complete its expert disclosures by May 2,2019(id), and the Government did so (Gov't May 2,

  2019 Letter). Raniere offers no reason why the court should reconsider its decision not to

  preclude the Government's experts because the Government missed the February 25 deadline.

  (See Mot. at 1-2.) Accordingly,the court rejects Raniere's first argument.

         B.      Adequacy of Notice under Rule 16(a)(1)(G)

         Rule 16(a)(1)(G) requires the government, upon a defendant's request, to "give to the

  defendant a written summary ofany testimony that the government intends to use under Rules

  702,703, or 705 ofthe Federal Rules ofEvidence during its case-in-chief at trial       The

  summary provided [] must describe the v^tness's opinions,the bases and reasons for those

  opinions, and the witness's qualifications." Fed. R. Crim. P. 16(a)(1)(G). The Government's
                                                                                  /■

  May 2,2019 letter meets this standard. First the letter "describe[s] the witness[es'] opinions"

  because it describes six opinions to which Dr. Grassian will testify, and eight opinions to which

  Dr. Hughes will testify. (Gov't May 2, 2019 Letter at 1-2.) Contrary to Raniere's contention,

  the May 2,2019 letter includes affirmative statements that clearly identify the experts'
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   conclusions about the topics on which they will testify. For example,the letter states that Dr.

   Grassian will testify that "individuals who experience environmental restriction^ often develop

   severe anxiety and panic disorders," and Dr. Hughes will testify that "the vast majority ofsexual
                                                                                     A



   assault victims know their perpetrators." (Id) The experts' conclusion on each proposed

   topic—six topics for Dr. Grassian and eight topics for Dr. Hughes—^is clear. (Gov't May 2,2019

   Letter at 1-2.)        United States v. Lipscomb. 539 F.3d 32, 37(1st Cir. 2008)(finding, in

   response to a defendant's Rule 16 argument, that "there is no dispute that [the defendant] was on

   notice with respect to the particular conclusions drawn by the witnesses," where the Government

   provided a similar degree of notice as it did here);^United States v. DuvalL 272 F.3d 825, 828-

   29(7th Cir. 2001)(stating that Rule 16 requires the Government to "identify what opinion the

   expert would offer, not merely to "provide[] a list ofthe general subject matters to be covered").

            Second,the Government's letter "describe[s] the... bases and reasons for [the

   witnesses'] opinions." Fed. R. Grim. P. 16(a)(1)(G). According to the letter,"Dr. Grassian's

   proposed testimony relies on his extensive study ofthe "psychiatric effects ofrestricted and

   isolated conditions of confinement as well as other conditions ofrestricted environmental and

   social stimulation."^ (Gov't May 2,2019 Letter at 2.) "Dr. Grassian's proposed testimony is

   also based on his extensive experience evaluating individuals while they were experiencing or

   after they had experienced environmental and social isolation."^ (Id at 2.) Meanwhile,"Dr.



   ^ "Environmental restriction" is defined as "severe restriction of social, perceptual, and occupational stimulation...
   including, but not limited to, lack ofhuman contact, restriction of physical activity, lack ofoccupational stimulation,
   repetition ofroutine, and stagnancy ofenvironment." Resp. at 4.
   ^ Such conditions "include, for example, prisoners of war, patients in intensive care units, patients with impairment
   oftheir sensory apparatus(such as eye-patched or hearing impaired patients), members ofthe military, submarine
   and polar explorers and space travelers." (Gov't May 2,2019 Letter at 2.)
 'According to the Government's letter,"[i]n his article Psychiatric Effects ofSolitary Confinement,22 Wash. U.
 Journal ofLaw & Policy, which has already been provided to the defendants pursuant to 18 U.S.C. § 3500, Dr.
   Grassian described the extensive body ofliterature, including clinical and experimental hterature, regarding the
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   Hughes's proposed testimony relies upon her extensive study ofthe empirical data and social

   science literature on sexual assault, interpersonal violence and trauma...[and] her extensive

   clinical experience treating hundreds oftrauma and abuse patients over the past twenty years."

  (Id. at 2-3.) "Dr. Hughes' testimony also relies upon her extensive clinical experience treating

   hundreds oftrauma and abuse patients over the past twenty years." (Id at 3.) This degree of

  notice regarding the bases and reasons for Dr. Grassian and Dr. Hughes's opinions satisfies the

  concems animating Rule 16's expert disclosure requirements.                     Fed. R. Crim. P. 16, Advisory

  Committee's Notes to 1993 Amendment("[Rule 16's expert disclosure requirements are]

  intended to minimize surprise that often results from unexpected expert testimony, reduce the

  need for continuances, and to provide the opponent with a fair opportunity to test the merit ofthe

  expert's testimony through focused cross-examination."); United States v. Cema.No.08-CR-

  730,2010 WL 2347406, at *2(N.D. Cal. June 8,2010)("Rule 16(a)(1)(G) does not require

  recitation ofthe chapter and verse ofthe experts' opinions, bases and reasons. No rule, statute,

  or decision necessitates such comprehensive disclosure.").

           Third,the Government has adequately described "the witness[es'] qualifications." Fed.

  R. Grim. P. 16(a)(1)(G). On March 15, 2019,the Government shared its experts' curricula vitae

  with Raniere. (Gov't Mar. 15, 2019 Expert Disclosures at 1.) In its May 2,2019 letter, the

  Government stated that

                   Dr. Grassian is a board-certified psychiatrist, licensed to practice
                   medicine in the Commonwealth of Massachusetts and was on the
                   teaching faculty of the Harvard Medical School for over 25 years.
                   He is one of the world's leading experts on the effects of
                   environmental restriction. Dr. Grassian's work has focused on




  effects ofdecreased enviromnental and social stimulation, which largely forms the basis for the testimony he is
  expected to provide here." (TdJ

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                 studying the effects of such isolation on prisoners in solitary
                 confinement.

  (Gov't May 2,2019 Letter at 1.) Further,the Government represented that

                 Dr. Hughes is a board-certified forensic psychologist and a clinical
                 psychologist. She is a leading expert on sexual abuse, interpersonal
                 violence and traumatic stress. Dr. Hughes is a Clinical Assistant
                 Professor of Psychology in Psychiatry at Weill Cornell Medical
                 College, she served as President of the Women's Mental Health
                 Consortium fi"om 2009 to 2017 and she has frequently published and
                 presented on the topics that will be the subject ofher testimony.

         (Id. at 2.) This notice about the experts' qualifications was sufficient. Raniere cites no

   authority for the proposition that the amount ofnotice the Government has provided is

  inadequate. Accordingly, the court rejects Raniere's second argument.

          C.     Reliability

                 1.      Legal Standard

          Federal Rule ofEvidence 702 states:

                 A witness who is qualified as an expert by knowledge, skill,
                 experience, training, or education may testify in the form of an
                 opinion or otherwise if:

                        (a) the expert's scientific, technical, or other specialized
                        knowledge will help the trier of fact to understand the
                        evidence or to determine a fact in issue;

                        (b)the testimony is based on sxifficient facts or data;

                        (c) the testimony is the product of reliable principles and
                        methods; and

                        (d)the expert has reliably applied the principles and methods
                        to the facts ofthe case.

         (Id) In Daubert.the Supreme Court made clear that the district court is charged with the

  gatekeeping function of"ensuring that an expert's testimony both rests on a reliable foundation

  and is relevant to the task at hand." 509 U.S. at 597. To gauge the reliability ofproffered
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   testimony,"the district court should consider the indicia ofreliability identified in Rule 702,"

   which are not exhaustive. Wills v. Amerada Hess Corp.. 379 F.3d 32,48(2d Cir. 2004). The

   district court may consider additional factors identified in Daubert. including(1) whether the

   theory or technique can be(and has been)tested;(2)whether the theory or technique has been

   subjected to peer review or publication;(3)in the case ofa particular scientific technique, the

   known or potential rate oferror and the existence and maintenance of standards controlling the

   technique's operation; and(4) whether a particular technique or theory has gained "general

   acceptance." Daubert. 509 U.S. at 593-94.

          The district court's inquiry into the reliability ofexpert testimony is "flexible,"

   and Daubert factors are neither exclusive nor dispositive, id. at 594-95; they "neither necessarily

   nor exclusively appl[y] to all experts or in every case," Kumho Tire Co.. Ltd. v. Carmichael. 526

   U.S. 137, 141 (1999). The district court has "the same broad latitude when it decides how to

   determine reliability as it enjoys in respect to its ultimate reliability determination." Id. at 142.

          The burden is on the party proffering the expert to demonstrate that the expert testimony

   is admissible by a preponderance ofthe evidence. United States v. Williams. 506 F.3d 151,160

   (2d Cir. 2007); Fed. R. Evid. 702 Advisory Committee's Note to the 2000 Amendment. "The

   Second Circuit's standard for admissibility ofexpert testimony is especially broad." United

   States v.Herron. No. lO-CR-615(NGG),2014 WL 1871909, at *6(E.D.N.Y. May 8,2014)

   (citations and quotation marks omitted);^Clarke v. LR Svs.. 219 F. Supp. 2d 323,332

   (E.D.N.Y.2002)(collecting cases). The rejection of expert testimony is "the exception rather

   than the rule." Clarke. 219 F. Supp. 2d at 332(quoting Fed. R. Evid. 702 Advisory Committee's

   Note to the 2000 Amendment). Because Rule 702"embodies a liberal standard of admissibility

   for expert opinions,the assumption the court is that a well-qualified expert's testimony is


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   admissible." In re Zvprexa Prods. Liab. Litig.. 489 F. Supp. 2d 230, 282(E.D.N.Y. 2007)

   (quoting Nimelv v. City ofNew York.414 F.3d 381,395(2d Cir. 2005)(quotation marks

   omitted)). Whether to hold a separate Daubert hearing in advance of admitting expert testimony

   is within the trial court's discretion.     Williams, 506 F.3d at 161.

                   2.      Application

                           a.      Dr. Grassian's Testimony

           Dr. Grassian's proposed testimony as to six opinions he holds meets the Rule 702 and

   Daubert standard because it "both rests on a reliable foundation and is relevant to the task at

   hand." Daubert. 509 U.S. at 597. His curriculum vitae makes clear that he is an expert with

   regard to the psychological effects ofrestricted and isolated conditions of prolonged

   confinement. This topic is relevant to the allegations in a racketeering act identified in the

   Second Superseding Indictment: specifically, that Jane Doe 4 was confined to a room for over a

   year while being subject to forced labor and document servitude. tSee Resp. at 4; Second

   Superseding Indictment(Dkt. 430)          31-33.)

           Raniere maintains that, becaxise Dr. Grassian's work focuses primarily on the impact of

   solitary confinement on prison inmates, his expertise is inapplicable to this case, which does not

   involve prison inmates. (Mot. at 5.) This is an overly narrow assessment ofDr. Grassian's

   expertise. As the Government notes, his work also includes research into how environmental

   restrictions affect persons in non-prison settings, including isolation in the context of aviation,

   small-group confinement(on expeditions, in submarines, and in Antarctic stations), solo

   voyages, medically required isolation like bed rest and tank-type respirators, and sensory




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   deprivation laboratories.^ (Resp. at 5(citing documents provided to Raniere's counsel).) Dr.

   Grassian's proposed testimony on the psychological effects ofnon-prison environmental

   restrictions is thus within the scope of his expertise.              United States v. Chin. 371 F.Sd 31,40

   (2d Cir. 2004)("To determine whether a witness qualifies as an expert, courts compare the area

   in which the witness has superior knowledge, education, experience, or skill with the subject

   matter ofthe proffered testimony.")

            Accordingly,and in light ofthe court's starting "assumption []that a well-qualified

   expert's testimony is admissible," In re Zvnrexa Prods. Liab. Litig.. 489 F. Supp. 2d at 282,the

   court exercises its discretion to permit Dr. Grassian to testify without holding a Daubert hearing.

   See Williams. 506 F.3d at 161.

                              b.       Dr. Hughes's Testimony

                                       i.       Dr. Hughes's first seven opinions

            The first seven of Dr. Hughes's eight disclosed opinions, each of which are about sexual

   assault victims and their psychologies, meet the Rule 702 and Daubert standard. She is a highly

   credentialed and board-certified forensic psychologist and a clinical psychologist, and her

   curriculum vitae indicates that she is an expert on the psychological consequences ofsexual

   abuse on its victims. (See Resp. at 6-7.) Her testimony will rely on her extensive study of

   empirical data and medical and social science literature and her substantial clinical experience.

   (See Gov't May 2,2019 Letter at 2-3; Resp. at 7.) She has provided expert reports on similar

   topics in other cases(see Resp. at 7(describing the reports)), and these reports were given to



   ® Raniere notes that Dr. Grassian has published several peer-reviev^red articles that contain the phrase "solitary
   confinement" in the title, but none that include the phrase "environmental restriction." In the court's view,tMs
   distinction is semantic and not probative as to whether Dr. Grassian is qualified to offer the proposed testimony.



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   Raniere's counsel(Mot. at 5-6(acknowledging that Raniere's counsel received these reports).)

   One of her expert reports identifies numerous studies that support the first seven ofthe eight

   opinions about which she will testify. (Mot. at 7.)

           Raniere's quibbles with the level of detail and intellectual rigor in Dr. Hughes's expert

   reports(Mot. at 5-6)are too minor to preclude her from testifying as to her first seven opinions.

   Raniere notes that Dr. Hughes's expert reports often cite a study as support for an opinion

   without specifically identifying how the study supports the opinion. (Mot. at 6.) In the example

   Raniere points to, Dr. Hughes asserts that"one ofthe wide-reaching negative effects ofearly

   childhood sexual trauma is the risk of being sexually victimized again," and cites two studies as

   support without providing further information about these studies (like the statistical evidence

   underlying them or the studies' error rate). (Id.) Under Daubert statistical evidence and error

   rates are just factors that the court may consider in exercising its gatekeeping function; their

   absence does not compel the court to preclude Dr. Hughes's testimony. 509 U.S. at 593-94; see

   Kiimho Tire. 526 U.S. at 142(stating that a district court has "broad latitude when it

   decides how to determine reliability as it enjoys in respect to its ultimate reliability

   determination."). In the court's view. Dr. Hughes's extensive study ofthe relevant data and

   literature and her clinical experience treating hxmdreds oftrauma and abuse patients over the past

   twenty years qualify her to testify as to her proposed conclusions about sexual abuse victims and

   their psychologies. See United States v. Bishead. 128 F.3d 1329,1330(9th Cir. 1997)

   (permitting a psychologist to testify about victims' delayed disclosure of child abuse based on

   the expert's clinical experience,including over 1,300 interviews with alleged child abuse

   victims); United States v. Maurizio. No. Crim. 3:14-23, 2015 WL 5228031, at *5(W.D.Pa.




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   Sept. 8,2015)(admitting testimony by expert who "conducted hundreds ofinterviews of sexual

   abuse victims").

            Accordingly, and in light ofthe court's starting "assumption that a well-qualified expert's

   testimony is admissible," In re Zvnrexa Prods. Liab. Litig.. 489 F. Supp. 2d at 282,the court

   exercises its discretion to permit Dr. Hughes to testify as to her first seven opinions without

   holding a Daubert hearing.                Williams. 506 F.3d at 161.

                                       ii.       Dr. Huohes's eighth opinion

            Raniere takes particular issue with Dr. Hughes's eighth opinion: that "perpetrators often

   use 'grooming' techniques on adult and child victims to normalize sexual behaviors and make

   their victims more susceptible to assault." (Mot. at 6.) Raniere contends(Mot. at 6), and the

   Government appears not to dispute(Resp. at 7), that the Government has not referenced any

   studies establishing the reliability ofthis opinion. The Government responds that other "[c]ourts

   have found expert testimony on the modus operandi ofabusers to be appropriate as 'this

   specialized information may very well be beyond the knowledge of manyjurors.'" (Resp. at 7

   (alteration adopted)(quoting United States v. Batton.602 F.3d 1191, 1201 (10th Cir. 2010)).)

   While that is true, that does not make Dr. Hughes's opinion about grooming techniques reliable

   under the Daubert standard. To the court's knowledge. Dr. Hughes has never testified in court or

   provided expert reports as to this opinion before. Further, her extensive academic and clinical

   experience appears focused on victims ofsexual abuse, not perpetrators.^
            Based on the current record, the court cannot determine whether Dr. Hughes's opinion

   regarding sexual abusers' use of grooming techniques is suJfiiciently reliable. Thus, before




   ® The first seven topics on which Dr. Hughes will testify all relate to the psychology of victims, not perpetrators, and
   are thus clearly within her expertise. (May 2,2019 Letter at 2.)

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   deciding whether Dr. Hughes may testify as to this opinion,the court must hold a Daubert

   hearing.

           D.     Federal Rule of Evidence 403


           Raniere contends that three portions ofthe proposed expert testimony should be

   precluded as unduly prejudicial under Federal Rule ofEvidence 403. (Mot. at 6-7.)           Nimelv.

   414 F.3d at 397(noting "the uniquely important role that Rule 403 has to play in a district

   court's scrutiny of expert testimony, given the unique weight such evidence may have in ajury's

   deliberations"). First he argues that Dr. Hughes's proposed testimony on grooming techniques

   will be unduly prejudicial because it suggests "that persons who commit sexual crimes share

   certain characteristics or that there are typical circumstances imder which sexual assaults take

   place thereby suggesting that the defendant is included in this group and meets the profile of

   typical sex offenders." (Mot. at 7(citing United States v. Forest 429 F.3d 73, 81 (4th Cir.

   2005).) As the court has not decided whether Dr. Hughes's testimony on grooming techniques is

   admissible under Rule 702,the court reserves judgment on whether such evidence would violate

   Rule 403.

          Second. Raniere posits that Dr. Hughes's testimony regarding delayed disclosure of

   sexual assault victims is unnecessary because "[t]he witnesses in this case are all adults who are

   capable of providing... reasons for their delayed or piecemeal disclosures and the jury does not

   need help from an expert to evaluate their explanations." (Mot. at 7.) The court disagrees. This

   testimony may be probative in that it may corroborate witnesses' explanations for their delayed

   disclosures, thus "help[ing] the trier offact to imderstand the evidence or to determine a fact in

   issue," Fed. R. Evid. 702(a). It is not "needlessly [] cumulative." Fed. R. Evid. 403. Other

   courts have permitted comparable expert testimony. See Maurizio. 2015 WL 5228031, at *5



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   (holding that expert testimony regarding victim characters and victim-offender dynamics was not

   unduly prejudicial); Grav v. Pate. No. 12:CV-3320,2014 WL 1232151, at *10(D.S.C. Mar. 24,

   2014)(discussing a state court's choice to permit expert testimony about sexual assault victims'

   delayed disclosure and finding that the admission ofsuch evidence was not a due process

   violation).

           Third. Raniere insists that "Dr. Grassian's testimony must also be precluded insofar as it

   references a prison setting or suggests that any ofthe alleged victims was subject to a prison-like

   solitary confinement." (Mot. at 7.) In Raniere's view,"[s]uch an association with the facts of

   this case is not only unsupported by any scientifically approved study, but any such association

   with Raniere would be unduly prejudicial." (Id) But the word "prison" does not appear in the

   Government's descriptions of any ofthe six opinions about which Dr. Grassian will testify.

   (May 2,2019 Letter at 1.) And,as explained above. Dr. Grassian's work covers environmental

   restrictions in various non-prison settings. According to the Government,"Dr. Grassian will be

   drawing on his expertise about multiple restrictive enviromnents,including but not limited to

   prisons, to explain the effect oflong-term environmental restrictions." (Resp. at 8.) As the

   Government notes, while Dr. Grassian's study of prison settings is the source of much of his

   expertise on environmental restrictions, that does not render his testimony about environmental

   restrictions prejudicial. (Id)

          If, during Dr. Grassian's testimony, Raniere becomes concerned about the alleged risk

   that the jury may improperly infer that any alleged victims were subject to a prison-like solitary

   confinement, he may object, and the court will give a curative instruction to the jury. The

   Government is DIRECTED to submit a proposed curative instruction to the court and Raniere

   before Dr. Grassian's testimony begins.



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   III.   CONCLUSION

          For the foregoing reasons, the court DENIES Raniere's motion (Dkt. 633) as to Dr.

   Grassian' s testimony and to Dr. Hughes' s testimony on the first seven of her eight proposed

   opinions. The court GRANTS Raniere's request for a Daubert hearing as to Dr. Hughes's

   proposed testimony that "perpetrators often use 'grooming' techniques on adult and child victims

   to normalize sexual behaviors and make their victims more susceptible to assault."

          SO ORDERED.
                                                                        s/Nicholas G. Garaufis
   Dated: Brooklyn, New York                                           N CHOLAS G. GARAUF
          May~2019                                                     United States District Judge




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